                       Case 4:11-cr-00156-JM                 Document 309             Filed 05/17/12           Page 1 of 4
A0245B        (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1

                                                                                                                     MAY 1 i7 2012

                                      Eastern District of Arkansas
                                                   )
            UNITED STATES OF AMERICA               )      JUDGMENT IN A CRIMINAL CA
                       v.                          )
                                                   )
           FLORA DEMARIA MENDEZ-IXLAJ                     Case Number:   4:11CR00156-05 JLH
                                                   )
                                                   )      USMNumber:     26642-009
                                                   )
                                                   )      Patrick Spivey
                                                                                  Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Count 1s of Superseding Information

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
18 u.s.c. § 4                    Misprision of a felony, a Class E felony                                    12/12/2011                  1s




       The defendant is sentenced as provided in pages 2 through            _ _4'------- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      Counts 1, 13 of SS Indictment            Dis      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          May 17,2012




                                                                          J, LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          May 17,2012
                                                                          Date
                        Case 4:11-cr-00156-JM                 Document 309         Filed 05/17/12         Page 2 of 4
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 -Imprisonment

                                                                                                     Judgment- Page -~2=--- of   4
DEFENDANT:                     FLORA DEMARIA MENDEZ-IXLAJ
CASE NUMBER:                   4:11CR00156-05 JLH


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

                             TIME SERVED with no term of supervised release to follow


    D The court makes the following recommendations to the Bureau of Prisons:




   D The defendant is remanded to the custody of the United States Marshal.

   D The defendant shall surrender to the United States Marshal for this district:
          D at      ------------------
                                                     D a.m.    D p.m.      on

          D as notified by the United States Marshal.

    0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

a ______________________________ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
AO 245B
                     Case 4:11-cr-00156-JM
          (Rev. 09/11) Judgment in a Criminal Case
                                                                Document 309                  Filed 05/17/12          Page 3 of 4
          Sheet 5 -Criminal Monetary Penalties
                                                                                                                Judgment- Page      3     of     4
DEFENDANT:                        FLORA DEMARIA MENDEZ-IXLAJ
CASE NUMBER:                      4:11CR00156-05 JLH
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                 Fine                                  Restitution
TOTALS           $ 100.00 - WAIVED                                             $ 0                                 $ 0


0   The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

0   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is pa1d.

Name of Payee                                Total Loss*                                Restitution Ordered                      Priority or Percentage




TOTALS                             $                                                 $ ________________


0    Restitution amount ordered pursuant to plea agreement $

0    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     0    the interest requirement is waived for the            0       fine     0   restitution.

     0    the interest requirement for the           0   fine       0     restitution is modified as follows:



*Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113AofTitle 18 for offenses committed on or after
September 13, 1994, but before Apri123, 1990.
AO 245B    (Rev. 09/11)Case
                       Judgment4:11-cr-00156-JM
                                 in a Criminal Case          Document 309              Filed 05/17/12            Page 4 of 4
           Sheet 6 - Schedule of Payments

                                                                                                              Judgment- Page    ~-'-4~     of          4
DEFENDANT:                 FLORA DEMARIA MENDEZ-IXLAJ
CASE NUMBER:               4:11CR00156-05 JLH

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     D    Lump sum payment of$                               due immediately, balance due

           D     not later than                                    , or
           D     in accordance        0    C,     0    D,     D      E, or    0 F below; or
B     D Payment to begin immediately (may be combined with                   oc,        D D, or       D F below); or
C    D     Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                         (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    X    Special instructions regarding the payment of criminal monetary penalties:
          Upon motion of the government, the $100 special assessment is waived pursuant to 18 U.S.C. § 3573.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, ( 4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
